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Adam N. Saravay                                Stacey R. Eisenstein (admitted pro hac vice)
McCARTER & ENGLISH, LLP                        Nathan J. Oleson (admitted pro hac vice)
Four Gateway Center                            Elizabeth England (admitted pro hac vice)
100 Mulberry Street                            AKIN GUMP STRAUSS HAUER & FELD
Newark, New Jersey 07102                       LLP
Telephone: (973) 622-4444                      Robert S. Strauss Tower
Facsimile: (973) 624-7070                      2001 K Street, NW
                                               Telephone: (202) 887-4000

                                    Attorneys for Defendants

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

RONTEZ MILES,
                                                Civil Action No. 2:19-cv-18327 (JXN) (JSA)
                      Plaintiff,

         v.

THE NATIONAL FOOTBALL LEAGUE
and JOHN DOES 1-5,

                      Defendants.



  NOTICE OF WITHDRAWAL OF APPEARANCE AND REQUEST FOR REMOVAL
         FROM ELECTRONIC NOTICING OF RICHARD HERNANDEZ

TO:     THE CLERK OF COURT AND ALL PARTIES OF RECORD:

        PLEASE TAKE NOTICE that Richard Hernandez from the law firm of McCarter &

English, LLP hereby withdraws his appearance in the above-captioned matter on behalf of

Defendants The National Football League and John Does 1-5 (“Defendants”). Counsel from

McCarter & English, LLP have entered appearances, and counsel from Akin Gump Strauss

Hauer & Feld LLP have appeared pro hac vice, on behalf of Defendants and will continue to

represent them in this matter. Accordingly, please remove Richard Hernandez from the list of

NEF recipients in this matter.




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                                     Respectfully submitted,

Dated: November 29, 2021             McCARTER & ENGLISH, LLP
                                     Attorneys for Defendants

                                     By: s/ Richard Hernandez
                                             Richard Hernandez




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